
952 So.2d 1207 (2007)
C.M.B., Appellant,
v.
STATE of Florida, Appellee.
No. 2D06-2493.
District Court of Appeal of Florida, Second District.
March 28, 2007.
James Marion Moorman, Public Defender, and Allyn M. Giambalvo, Assistant Public Defender, Bartow, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Dale E. Tarpley, Assistant Attorney General, Tampa, for Appellee.
SILBERMAN, Judge.
C.M.B. appeals an order adjudicating him delinquent for a first-degree misdemeanor battery. C.M.B.'s appellate counsel filed a brief pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), asserting there was no arguable merit in the appeal. Our review of the record and the one potential issue raised by C.M.B.'s counsel reveals no reversible error.
We do note, however, an issue concerning C.M.B.'s disposition order. The order commits C.M.B. to the Department of Juvenile Justice for placement in a moderate risk program for an indeterminate period of time, followed by conditional release. Based on the wording of the order, the duration of C.M.B.'s commitment may improperly exceed the maximum term of imprisonment that an adult may serve for the same offense. See § 985.231(d), Fla. Stat. *1208 (2005); see also A.C. v. State, 688 So.2d 1004, 1005 (Fla. 2d DCA 1997) (concluding that the juvenile's sentence was illegal because it exceeded the maximum term that he could have received as an adult for the same offense). Because C.M.B. did not preserve this issue for appeal, we affirm the adjudication and disposition orders in their entirety. Our affirmance is without prejudice to C.M.B. filing a motion to correct disposition order pursuant to Florida Rule of Juvenile Procedure 8.135(a), if he elects to do so. See R.C.M. v. State, 887 So.2d 411, 412 (Fla. 2d DCA 2004).
Affirmed.
WHATLEY and NORTHCUTT, JJ., Concur.
